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                            UNITED STATES DISTRICT COURT
                                DISTRICT OF COLUMBIA



In re Fannie Mae/Freddie Mac Senior                   Misc. Action No. 13-mc-1288 (RCL)
Preferred Stock Purchase Agreement Class
Action Litigations
                                                      CLASS ACTION

THIS DOCUMENT RELATES TO:                             DECLARATION OF HAMISH
ALL CASES                                             HUME




                        DECLARATION OF HAMISH HUME
              PURSUANT TO FEDERAL RULE OF CIVIL PROCEDURE 56(D)

         I, HAMISH HUME, hereby declare as follows:

         1.    I am a partner at the law firm of Boies, Schiller & Flexner, LLP, one of the Co-

Lead Counsel for Plaintiffs in the above-captioned action.

         2.    I submit this declaration in accordance with Federal Rule of Civil Procedure

56(d).

         3.    The United States Treasury (“Treasury”) defendants have moved to dismiss

Plaintiffs’ Consolidated Amended Class Action and Derivative Complaint (the “Complaint”), or

in the alternative for summary judgment. In support of their motion, they have proffered alleged

facts outside, or in direct contradiction of, the allegations in the Complaint. Similarly, the

Federal Housing Finance Agency (“FHFA”) defendants proffer alleged facts outside, or in direct

contradiction of, the allegations in the Complaint.

         4.    At this early stage of the litigation, Plaintiffs have had no opportunity to take

discovery. To the extent that the Court is prepared to entertain any motion under Federal Rule of

Civil Procedure 56, whether the motion has been explicitly made under that Rule (as with
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Treasury) or is to be treated as such pursuant to Federal Rule of Civil Procedure 12(d), Plaintiffs

request time and leave to take discovery into, inter alia, the following issues raised by

defendants’ motions:

       a.      The contention that defendants’ actions in implementing the Third Amendment

               were purportedly “taken to ‘carry on the business’ of the Enterprises, ‘put the

               [Enterprises] in a sound and solvent condition’ . . . and promote what the

               Conservator determined to be ‘the best interests of the [Enterprises] or the

               [FHFA.]’”    See FHFA Defendants’ Briefing In Support Of Their Motion to

               Dismiss (“FHFA Memo”) [ECF No. 20] at 26.

       b.      The contention that defendants’ actions were part of their response to the 2008

               financial crisis, rather than an attempt to expropriate value for the Treasury.

               FHFA Memo at 1.

       c.      The contention that Plaintiffs’ Takings claims are not ripe because Plaintiffs

               purportedly cannot show any economic injury.           See Treasury Defendants’

               Briefing In Support Of Their Motion To Dismiss (“Treasury MTD”) [ECF No.

               19-1] at 66-67.

       d.      The contention that “the conservatorships must end before the plaintiffs’ [Takings

               Clause] claims can ripen,” and the related dispute over each party’s assessment of

               future profitability, and over when and how the conservatorship will end.

               Treasury Memo at 67-68.

       e.      The contention that Plaintiffs’ Takings claims fail because FHFA is not the

               United States for Takings Clause purposes, and the related question whether the




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